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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF WISCONSIN

 

AARON ESPENSCHEID,

GARY IDLER, and MICHAEL CLAY,
on behalf of themselves and a

class of employees and/or

former employees similarly situated, : Case No. 09-cv-625
Plaintiffs, :

Vv.

DIRECTSAT USA, LLC and
UNITEK USA, LLC
Defendants.

 

 

DEFENDANTS’ BRIEF IN SUPPORT OF THEIR MOTION TO AMEND
THIS COURT’S FEBRUARY 10, 2011 ORDER TO INCLUDE A CERTIFICATION
FOR INTERLOCUTORY APPEAL PURSUANT TO 28 U.S.C. § 1292(b)

 

Defendants DirectSat USA, LLC (“DirectSat”) and UniTek USA, LLC (“UniTek”),
(together, “Defendants”), hereby submit this brief in support of their motion to amend this
Court’s February 10, 2011 Order and Opinion (Dkt. No. 387) regarding Defendants’ motion to
decertify this case as a collective action under the Fair Labor Standards Act (“FLSA”), 29 U.S.C.
§ 201, et seq. Defendants respectfully request that this Court certify the order for interlocutory
review pursuant to 28 U.S.C. § 1292(b). In particular, Defendants request that the Court certify
the following three questions of law:

1. What is the appropriate legal standard for determining whether employees are

“similarly situated” sufficient to justify adjudicating their claims in a collective

action under 29 U.S.C. § 216(b)?

2. To what extent may employees be deemed “similarly situated” in wage-and-hour
litigation because an employer’s employment policies allegedly caused individual
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employees or their managers to engage in purportedly unlawful behavior, even
though the behavior at issue varied widely among employees and managers?

3. Do the Due Process Clause of the Fifth Amendment and the Reexamination
Clause of the Seventh Amendment permit certification of FLSA subclasses whose
members cannot be determined without individualized discovery from opt-in
plaintiffs and who have widely differing claims based on their individual
employment experiences, and that would likely require bifurcation of overlapping
damages and liability issues?

BACKGROUND

Plaintiffs bring this “off-the-clock” wage-and-hour action under the FLSA and the laws
of Pennsylvania, Minnesota, and Wisconsin. The three named Plaintiffs assert their claims on
behalf of themselves and others they assert are similarly situated. On June 7, 2010, this Court
granted conditional certification of a nationwide FLSA class under 29 U.S.C. § 216(b), and 952
individuals subsequently opted into the collective action. On February 10, 2010, this Court
denied, in large part, Defendants’ motion to decertify the FLSA collective action. See Dkt. No.
387. This Court crafted three subclasses under § 216(b) depending on the type of claims asserted
by the opt-in plaintiffs. Id, at 26-27. The Court also granted Plaintiffs’ motion for class
certification of their state-law claims. See Dkt. No. 387.

Defendants have filed a petition for permission to appeal this Court’s class-certification
decision with the Seventh Circuit pursuant to Federal Rule of Civil Procedure 23(f). Defendants
now seek certification of this Court’s decision to deny Defendants’ motion to decertify the FLSA
collective action. That decision involves several controlling questions of law—including, for
example, the appropriate standard for determining whether employees are “similarly situated”

under § 216(b)—that are appropriate for interlocutory review by the Seventh Circuit.

Accordingly, for the reasons set forth below, Defendants respectfully request that this Court
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amend its February 10, 2011 order to include a certification for interlocutory appeal pursuant to
28 U.S.C. § 1292(b).
ARGUMENT

Section 1292(b) authorizes this Court to certify an order for interlocutory appeal if the
order “involves a controlling question of law as to which there is substantial ground for
difference of opinion,” and “an immediate appeal from the order may materially advance the
ultimate termination of the litigation.” See also In re Text Messaging Antitrust Litig., ---F.3d---,
2010 WL 5367383, at *1 (7th Cir. Dec. 29, 2010). Each of the requirements for certification
under § 1292(b) is satisfied here.

A. THIS COURT’S ORDER DENYING DECERTIFICATION OF THE FLSA
ACTION INVOLVES CONTROLLING QUESTIONS OF LAW.

This Court’s order denying decertification of the FLSA collective action involves several
controlling questions of law that are appropriate for interlocutory review.

1. Most significantly, the certification decision turns on the appropriate standard for
evaluating the statutory requirement that the employees be “similarly situated.” 29 U.S.C.
§ 216(b). This is an exceptionally important issue: It is the decisive inquiry in every putative
FLSA collective action, including this one. Yet, as this Court noted in its opinion, “the Court of
Appeals for the Seventh Circuit has not articulated a standard for making the [similarly situated]
determination” under § 216(b). Dkt. No. 387, at 21.

Because the selection of an appropriate legal standard is such a fundamental decision for
any litigation, the Seventh Circuit has recognized that it is precisely the sort of controlling
question of law that can warrant interlocutory review. See In re Text Messaging, 2010 WL

5367383, at *2 (interlocutory appeal appropriate where Seventh Circuit was asked to interpret
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the pleading standard under Twombly); see also Searcy v. eFunds Corp., No. 08-985, 2010 WL
5245856, *1 (N.D. Ill. Dec. 14, 2010).

Interlocutory review of this issue is all the more appropriate given the substantial increase
of wage-and-hour actions in this circuit—and in this district specifically. A prompt
determination by the Seventh Circuit regarding the controlling standard for such cases would
help guide this Court and others in adjudicating collective actions under § 216(b) and would
avoid the potential waste of effort that could be caused by obtaining the Seventh Circuit’s views
only after several § 216(b) cases, including this one, have already proceeded to trial. Moreover,
if the Seventh Circuit grants Defendants’ petition for review under Rule 23(f), that would further
support review of the FLSA claims under § 1292(b): Allowing the issues to proceed together
would permit the Seventh Circuit to address the governing standard under § 216(b) by
juxtaposing and comparing that standard with the requirements of Rule 23(a) and (b). See
Grayson v. Kmart Corp., 79 F.3d 1086, 1090 (11th Cir. 1996) (accepting § 1292(b) appeal
addressing standard under § 216(b) and application of that standard in an ADEA case).

2. The Seventh Circuit’s review of the governing legal standard would be aided, of
course, by applying that standard in a particular case. In this case, the application of § 216(b)’s
“similarly situated” requirement itself involves a controlling legal question that warrants
interlocutory review, whether alone or in combination with the governing legal standard.

In certifying the FLSA collective action, this Court acknowledged that the opt-in
plaintiffs “deposed by defendants testified to varying employment experiences,” Dkt. No. 387, at
25, and that “[n]ot all technicians performed all of [the alleged] tasks, nor did they perform them
everyday or for a consistent period of time,” id. at 15. The Court nonetheless concluded that the

case could proceed as a collective action “because all plaintiffs were subject to defendants’
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nationwide policies and practices.” Id. at 26. This decision raises an important issue regarding
when, if at all, collective-action certification is appropriate because of the employer’s putative
nationwide policies even though, because the circumstances of individual employees varied so
greatly, establishing the existence of those policies does not alleviate individualized issues that
must be adjudicated to ascertain liability and entitlement to relief.

This is an important issue for interlocutory review, as several courts of appeals have
recognized by granting review under Rule 23(f) of class-certification decisions raising analogous
issues. See Hohider v. United Parcel Serv., Inc., 574 F.3d 169, 197 (3d Cir. 2009) (accepting
Rule 23(f) appeal and reversing grant of class certification where adjudication as to the existence
of particular policies was swallowed by individual analyses necessary to establish liability and
relief); see_also, e.g., Myers v. Hertz Corp., 624 F.3d 537, 547-48 (2d Cir. 2010); Luna _v.
DelMonte Fresh Produce (Souteast), Inc., 354 F. App’x 422 (11th Cir. 2009). As these cases
illustrate, the relationship between overarching national policies that could lawfully be applied,
on the one hand, and individualized responses to those policies that allegedly implicate wage-
and-hour laws, on the other hand, gives rise to fundamental issues regarding the propriety of
class (or, in this case, collective-action) certification. And again, to the extent the Seventh
Circuit grants review under Rule 23(f), it makes sense for this collective-action issue to be
addressed at the same time as the analogous issue presented by Plaintiffs’ state-law claims. See
Dkt. No. 387, at 47 (noting that “[t]he typicality requirement under Rule 23(a)(3) overlaps
substantially with the similarly situated analysis under § 216(b)”).

3. Finally, the Court’s decision to permit this case to proceed as a collective action raises
several critically important issues under the Due Process Clause of the Fifth Amendment and the

Reexamination Clause of the Seventh Amendment. In particular, there are substantial—and
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necessarily controlling—issues regarding whether these constitutional limitations permit
certification of subclasses whose membership cannot be determined without engaging in
precisely the sort of individualized inquiry that collective treatment is designed to avoid,
particularly where the individual experiences of the employees varied so widely, and where
manageability problems will likely require bifurcation of liability and damages.

This Court created subclasses based on the type of claim possessed by the opt-in
plaintiffs, rather than some objectively identifiable metric such as job classification, job duties,
or job departments. As a result, it is impossible to determine without individualized analyses of
the opt-in plaintiffs which (if any) of the three subclasses is applicable to which plaintiff. Thus,
even if the named plaintiffs prevail at trial, none of the opt-in plaintiffs could recover without a
separate trial of their own claims: To establish a right to unpaid wages for off-the-clock work,
each individual technician must show that he or she performed uncompensated work. See Lugo
v. Farmer’s Pride Inc., ---F. Supp. 2d---, 2010 WL 3370809 at *22 (E.D. Pa. 2010); Powell v.
Carey Intern., Inc., 483 F. Supp. 2d 1168, 1182 (S.D. Fla. 2007); Colindres v. QuietFlex Mfg.,
427 F. Supp. 2d 737, 753-756 (S.D. Tex. 2006). These liability issues cannot be tried, however,
without violating the Reexamination Clause of the Seventh Amendment because closely related
liability issues would already have been determined in the earlier collective-action trial. See
Gasoline Prods. Co. v. Champlin Ref. Co., 283 U.S. 494, 500 (1931); see_also U.S. Const.
amend. VII (“no fact tried by a jury, shall be otherwise re-examined in any Court of the United
States, than according to the rules of the common law’).

At the same time, however, the Court cannot permit recovery from opt-in plaintiffs
without individualized proof of liability. Even if the named plaintiffs could prove their own

claims, that could conceivably establish liability as to the opt-in plaintiffs only by ignoring the
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divergent nature of the claims asserted and thus violating Defendants’ due process rights to
present available defenses. See, e.g., Philip Morris USA v. Williams, 549 U.S. 346, 353 (2007);
Lindsey v. Normet, 405 U.S. 56, 66 (1972). Accordingly, there is a substantial issue whether the
collective action certified here could proceed at_all without violating either Defendants’ Fifth
Amendment rights or their Seventh Amendment rights.

For similar reasons, this Court’s proposed bifurcation of damages and liability issues also
raises serious constitutional concerns. This Court noted that the case should be “bifurcated into
separate liability and damages phases,” in which “[t]he damages stage would involve
examination of how any practices found unlawful affected each plaintiff.” Dkt. No. 387, at 36.
But the “examination of how any practices found unlawful affected each plaintiff’ is not only a
damages issue, it is also a liability issue: Defendants are not liable unless the particular opt-in
plaintiff in fact was subject to any “practices found unlawful.” The Seventh Amendment does
not permit the bifurcation of such closely related issues. See, e.g., In re Rhone-Poulenc Rorer,
Inc., 51 F.3d 1293, 1302-04 (7th Cir. 1995); Gasoline Prods., 283 U.S. at 500.

Finally, as before, these constitutional issues are likewise applicable to the Rule 23 class
certified by this Court. Thus, if the Seventh Circuit grants review under Rule 23(f), it is
especially appropriate to certify the ‘‘overlap[ping]” FLSA order (Dkt. No. 387, at 47) for
interlocutory appeal.

B. THERE ARE SUBSTANTIAL GROUNDS FOR DIFFERENCE OF
OPINION REGARDING THE COURT’S DECERTIFICATION ORDER.

The fact that this Court and others have wrestled with similar controlling questions of law
and reached varying results, coupled with the Court’s acknowledged manageability concerns,
demonstrates that there are substantial grounds for difference of opinion regarding the issues

addressed by this Court’s order.
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1. This Court noted that the individual technicians in this case had varying employment
experiences and that they do not possess the same claims. Dkt. No. 387, at 14-16, 23, 25. In
analogous factual situations, other courts have denied certification or granted decertification.
See, e.g., Lugo, 2010 WL 3370809, *10; Reed v. County of Orange, 266 F.R.D. 446, 449-50
(C.D. Cal. 2010); Zavala v. Wal-Mart Stores, Inc., 2010 WL 2652510, *5 (D.N.J. Jun. 25, 2010);
Wright v. Pulaski County, 2010 WL 3328015, *9 (E.D. Ark. Aug. 24, 2010); Cartner v. Hewitt

Assocs., LLC, 2010 WL 1380037, *3 (M.D. Fla. 2010) Pacheco v. Boar’s Head Provisions, Inc.,

 

671 F. Supp. 2d 957, 959 (W.D. Mich. 2009); Proctor v. Allsups Convenience Stores, Inc., 250
F.R.D. 278, 280 (N.D. Tex. 2008); Johnson v. Big Lots Stores, Inc., 561 F. Supp. 2d 567 (E.D.
La. 2008) Duncan _v. Phoenix Supported Living, Inc., 2007 U.S. Dist. LEXIS 24649, *3
(W.D.N.C. Mar. 30, 2007); Johnson v. TGF Precision Haircutters, Inc., 2005 U.S. Dist. LEXIS
44259, *12 (S.D. Tex. Aug. 17, 2005). This difference in outcomes can be explained, in part, by
the lack of circuit guidance concerning the appropriate standard for certification under § 216(b).
2. The Seventh Circuit has not addressed the extent to which reliance on putative
nationwide policies can justify certification even when the individual circumstances and claims
of opt-in plaintiffs differs widely. In the Rule 23 context, however, several circuits have held
that the alleged existence of a putative nationwide or company-wide policy is not sufficient for
class certification where individual analyses related to liability and relief lurk beneath
adjudication of the putative policies. See Hohider, 574 F.3d 169, 197 (3d Cir. 2009); In re Wells
Fargo Home Mortg. Pay Litig., 571 F.3d 953, 957 (9th Cir. 2009); Luna, 354 F. App’x 422;
Jackson v. Motel 6 Multipurpose, Inc., 130 F.3d 999, 1006 (11th Cir. 1997). Under this view,

decertification of Plaintiffs’ § 216(b) action would be appropriate. That other circuits have
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reached this conclusion in an analogous context further demonstrates that there are substantial
grounds for difference of opinion on this issue.

3. Finally, there are substantial grounds for difference of opinion regarding whether this
Court’s certification order is consistent with the Constitution. This is clear from the Supreme
Court’s opinions in Philip Morris, Lindsey, and Gasoline Products, as well as the Seventh
Circuit’s opinion in Rhone-Poulenc, which together create grave doubts about the certification
order. But it is also clear because the Court has itself acknowledged the manageability problems
with this case, stating that “as this case develops further or reaches the damages phase it may
become unmanageable in its current form.” Dkt. No. 387, at 54. Although Defendants
respectfully submit that the case is “unmanageable” even in its current form, there is little doubt
that serious constitutional issues would arise if the case is deemed “unmanageable” only after
some issues have been tried to a jury. See, e.g., Rhone-Poulenc, 51 F.3d at 1302-04; Gasoline
Prods., 283 U.S. at 500.

C. AN IMMEDIATE APPEAL WILL ADVANCE THE ULTIMATE
TERMINATION OF THE LITIGATION.

Finally, there is no doubt that an interlocutory appeal would advance the ultimate
termination of this litigation. If the Seventh Circuit grants review and holds that certification
under § 216(b) is not proper, this case will revert to three individual plaintiffs. A different
outcome on certification therefore would have a major impact on the scope and length of any
trial in this litigation. That, in turn, could have significant consequences on the likelihood that
the parties could negotiate a resolution of this matter without the need for trial.

While the Court could certainly proceed with this litigation without receiving guidance
from the Seventh Circuit, a different conclusion on certification announced in a post-trial appeal

could require the Court to go back and start over. In light of the scope and complexity of trial if
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this case remains a collective action, ensuring that the relevant issues regarding certification are

thoroughly and finally resolved from the outset would clearly advance the ultimate termination

of this litigation.

CONCLUSION

This Court’s decertification order satisfies each of the three requirements of 28 U.S.C.

§ 1292(b). Given the significant legal issues addressed in that order, on which there are

substantial grounds for difference of opinion and the resolution of which could advance the

ultimate termination of this litigation, the Court should amend its order to include a certification

for interlocutory appeal under § 1292(b).

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DATED: February 25, 2011

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Respectfully submitted,

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